

Smith v Triple-O Mech., Inc. (2024 NY Slip Op 03663)





Smith v Triple-O Mech., Inc.


2024 NY Slip Op 03663


Decided on July 3, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 3, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., LINDLEY, MONTOUR, OGDEN, AND DELCONTE, JJ.


1050.1 CA 23-01292

[*1]BRUCE D. SMITH, PLAINTIFF-RESPONDENT,
vTRIPLE-O MECHANICAL, INC., AND LUKE GIANNONE, DEFENDANTS-APPELLANTS. (APPEAL NO. 1.)






UNDERBERG &amp; KESSLER LLP, ROCHESTER (DAVID M. TANG OF COUNSEL), FOR DEFENDANTS-APPELLANTS.
HODGSON RUSS LLP, BUFFALO (RYAN J. LUCINSKI OF COUNSEL), FOR PLAINTIFF-RESPONDENT.


Appeal from an order of the Supreme Court, Genesee County (Timothy J. Walker, A.J.), entered June 30, 2023. The order granted the motion of plaintiff to compel certain discovery and held in abeyance defendants' cross-motion for summary judgment. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Smith v Triple-O Mech., Inc. ([appeal No. 2] — AD3d — [July 3, 2024] [4th Dept 2024]).
Entered: July 3, 2024
Ann Dillon Flynn
Clerk of the Court








